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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

IN RE: BP p.l.c.                                §       MDL No. 10-md-2185
SECURITIES LITIGATION                           §
                                                §
                                                §
                                                §
STICHTING PENSIOENFONDS                         §       Civ. Act. No. 4:13-cv-0069
METAAL EN TECHNIEK et al.                       §
                                                §
v.                                              §       HON. KEITH P. ELLISON
                                                §
BP P.L.C. et al.                                §

                                              ORDER

          Pending before the Court is Defendants’ Amended Second Tranche Consolidated Motion

to Dismiss. (Doc. Nos. 48, 55.)1 Having reviewed the original motion (Doc. No. 22), the

amended motion, Plaintiffs’ response (Doc. Nos. 66, 72), Defendants’ reply (Doc. Nos. 78, 80),

all papers in support thereof, and having heard oral argument, the Court finds that Defendants’

Motion (Doc. Nos. 48, 55) must be GRANTED IN PART and DENIED IN PART. Pursuant to

the reasoning articulated in the Memoranda and Orders issued this day in three related cases—

Avalon Holdings, Inc. et al. v. B.P. p.l.c. et al. [12-cv-3715] (the “Avalon Holdings Opinion”);

Mondrian Global Equity Fund, L.P. et al. v. BP p.l.c. et al. [12-cv-3621] (the “Mondrian

Opinion”); and New York City Employees’ Retirement System et al. v. BP p.l.c. et al. [13-cv-

1393] (the “New York Opinion”)—the Court GRANTS the Amended Motion to Dismiss as to

the following claims:

                        All negligent misstatement claims.




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    Unless otherwise indicated, all docket references are to 13-cv-0069.
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               All claims based on Andrew Inglis’s statements made in the 2008 Strategy
                Presentation on February 27, 2008. (Doc. Nos. 18, 19 (the “Stichting
                Compl.”), at ¶ 352(b).)

               All claims based on statements made in the May 20, 2010 press release
                and Form 6-K. (Id. ¶ 434.)

               All claims based on statements made in the May 24, 2010 press release
                and Form 6-K. (Id. ¶ 441.)

               All Section 20(a) claims asserted against Mr. Inglis and David Rainey.

  There being no remaining claims against Mr. Rainey, he is DISMISSED.

  In all other respects, the Motion is DENIED.

  IT IS SO ORDERED.

  SIGNED at Houston, Texas, on this the thirtieth day of September, 2014.




                                      KEITH P. ELLISON
                                      UNITED STATES DISTRICT JUDGE




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